Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-6
                                307-2 Filed
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               EXHIBIT
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Chang, Esther Kim

From:                             Gonzalez, Arturo J.
Sent:                             Monday, April 17, 2017 6:01 PM
To:                               QE-Waymo
Cc:                               Waymo Internal - Attorneys; John Cooper (JCooper@fbm.com); Matthew Cate
Subject:                          Spider

Importance:                       High


Quinn Team,

I don't believe anyone responded to my email last night.

The Spider components have been brought to our office and are available for your inspection tomorrow. Please let us
know if Jordan and/or your expert want to see them. If not, we will send them back to the client.

Arturo J. González
Chair, Commercial Litigation and Trial Practice Group Morrison & Foerster LLP
425 Market St. | San Francisco, CA 94105
P: 415.268.7020 | F: 415.276.7020 | C: 415.425.9548 AGonzalez@mofo.com | www.mofo.com

    Original Message
From: Gonzalez, Arturo J.
Sent: Sunday, April 16, 2017 5:05 PM
To: QE Waymo
Cc: Waymo Internal Attorneys
Subject: Spider

Quinn Team,

As I think you know, there was never a completed Spider. However, if you want to inspect some of the Spider
components, we can make them available in our SF office Tuesday morning. Let me know if you want to see them. Same
ground rules.

Arturo

Sent from my iPhone




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